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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 FRANKFORT DIVISION


 COMMONWEALTH OF KENTUCKY                             )
                                                      )
           Plaintiff,                                 )
                                                      )
                                                      )
     v.                                                       No. 3:23-cv-00007-GFVT
                                                      )
                                                              (consolidated with No.
                                                      )
                                                              3:23-cv-00008-GVFT)
                                                      )
 UNITED STATES ENVIRONMENTAL                          )
 PROTECTION AGENCY, et al.,                           )
                                                      )
                                                      )
           Defendants.



                         NOTICE OF SUPPLEMENTAL AUTHORITY

          Federal Defendants provide notice that today, in State of Texas v. EPA, No. 3:23-cv-17

(S.D. Tex.), the court issued an order granting the State plaintiffs’ motion and denying the trade

association plaintiffs’ motion for a preliminary injunction of the same Rule (88 Fed. Reg. 3004

(Jan. 18, 2023)) that Plaintiffs seek to preliminarily enjoin in these consolidated cases.



                                                  Respectfully submitted,

                                                  TODD KIM
                                                  Assistant Attorney General
 Of Counsel:                                      ENVIRONMENT AND NATURAL
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 19, 2023, I filed the foregoing using the Court’s CM/ECF

system, which will electronically serve all counsel of record registered to use the CM/ECF

system.


                                                      /s/ Sonya J. Shea

                                                    SONYA J. SHEA
